                                UNITED STATES BANKRUPTCY COURT FOR THE
                                MIDDLE DISTRICT OF TENNESSEE AT NASHVILLE


 In re:                                                          Case No. 3:15-bk-06099
                                                                 Chapter 11
 SANDRA L. TURNER,                                               Judge Randall Mashburn
 103 Joshua’s Run
 Goodlettsville, TN 37072-2333
 SSN: XXX-XX-6328                                                SECOND AMENDED CHAPTER 11 PLAN


             Debtor.




                                    TABLE OF CONTENTS
 I.       INTRODUCTION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
 II.      CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS . . . . . 2
          A.   General Overview . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
          B.   Unclassified Claims . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
               1.      Administrative Expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
               2.      Priority Tax Claims . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
               3.      Priority Domestic Support Obligations . . . . . . . . . . . . . . . . . . . . . . . . . . . .4
          C.   Classified Claims and Interests . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
               1.      Classes of Claims….……. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
                               a. Secured………………………………………………………….4
                               b. Court Ordered ...……………………………………………….5
                               c. Guaranteed Claims ……………………………………………..7
               2.      Classes of Priority Unsecured Claims . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
               3.      Class of General Unsecured Claims . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
               4.      Class(es) of Interest Holders . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .10
          D.   Means of Performing the Plan . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
               1.      Funding for the Plan . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
                                                                1



Case 3:15-bk-06099              Doc 138       Filed 09/12/17 Entered 09/12/17 08:59:18                              Desc Main
                                             Document     Page 1 of 15
             2.     Post-Confirmation Management . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
             3.     Disbursing Agent . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .11
 III.   TREATMENT OF MISCELLANEOUS ITEMS . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
        A.   Executory Contracts and Unexpired Leases . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
             1.     Assumptions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .11
             2.     Rejections . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
        B.   Changes in Rates Subject to Regulatory Commission Approval . . . . . . . . . . . . .12
        C.   Retention of Jurisdiction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
 IV.    EFFECT OF CONFIRMATION OF PLAN . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ...12
        A.   Discharge . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .12
        B.   Re-vesting of Property in the Debtor . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ..13
        C.   Modification of Plan . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .13
        D.   Post-Confirmation Status Report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .13
        E.   Quarterly Fees . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .13
        F.   Post-Confirmation Conversion/Dismissal . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
        G.   Final Decree . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ..14

                                                                I.

                                                   INTRODUCTION

        Sandra L. Turner is the Debtor in a Chapter 11 bankruptcy case. On August 30, 2015,
 Debtor commenced a voluntary bankruptcy case by filing a Chapter 11 petition under the United
 States Bankruptcy Code (“Bankruptcy Code”), 11 U.S.C. § 101 et seq. This document is the
 Chapter 11 Plan (“Plan”) proposed by the Debtor (“Plan Proponent”). Sent to you in the same
 envelope as this document is the Disclosure Statement which is pending approval by the Court,
 and which is provided to help you understand the Plan.
        This is a reorganization plan.                  In other words, the Proponent seeks to accomplish
 payments under the Plan by using Debtor’s income. The Effective Date of the proposed Plan is
 45 days after confirmation.


 II.    CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

 A.     General Overview

        As required by the Bankruptcy Code, the Plan classifies claims and interests in various

 classes according to their right to priority of payments as provided in the Bankruptcy Code. The

                                                                 2



Case 3:15-bk-06099             Doc 138        Filed 09/12/17 Entered 09/12/17 08:59:18                                 Desc Main
                                             Document     Page 2 of 15
 Plan states whether each class of claims or interests is impaired or unimpaired. The Plan

 provides the treatment each class will receive under the Plan.

 B.     Unclassified Claims

        Certain types of claims are not placed into voting classes; instead they are unclassified.

 They are not considered impaired and they do not vote on the Plan because they are

 automatically entitled to specific treatment provided for them in the Bankruptcy Code. As such,

 the Proponent has not placed the following claims in a class. The treatment of these claims is

 provided below.


        1.      Administrative Expenses

        Administrative expenses are claims for costs or expenses of administering the Debtor’s

 Chapter 11 case which are allowed under Code Section 507(a)(1). The Code requires that all

 administrative claims be paid on the Effective Date of the Plan, unless a particular claimant

 agrees to a different treatment.

        There are no administrative claims under the plan except for any quarterly fees owed by

 the Debtors that may become due between now and the confirmation of the case and the unpaid

 attorney’s fees for Mike J. Urquhart, Counsel for the Debtor-in-possession, which are subject to

 the approval of the Court.

        2.      Priority Tax Claims

        Priority tax claims are certain unsecured income, employment and other taxes described

 by Code Section 507(a)(8). The Code requires that each holder of such a 507(a)(8) priority tax

 claim receive the present value of such claim in deferred cash payments, over a period not

 exceeding six years form the date of the assessment of such tax.

                                                  3



Case 3:15-bk-06099        Doc 138    Filed 09/12/17 Entered 09/12/17 08:59:18            Desc Main
                                    Document     Page 3 of 15
        There are no Section 507(a)(8) priority tax claims under this Plan.


 C.     Classified Claims and Interests

        1.      Classes of Secured Claims
        Secured claims are claims secured by liens on property of the estate. There are secured
 pre-petition claims under this Plan.

        a. Twelve Stones Crossing (“Twelve Stones”) holds a secured claim in the amount of
             $1,951.50. Twelve Stones is secured in the property located at 103 Joshua’s Way,
             Goodlettsville, TN to the value of $1,951.50. The claim of arises out of a Master
             Deed of Trust on the property in which the Debtor resides. The Debtor intends to pay
             Twelve Stones $1,951.50 at 3.75% over 60 months in payments of $35.72 per month
             plus the ongoing payment of $46.67 per month for a total payment of $82.39 for 60
             months beginning on the effective date of the Plan. On month 61 the payment will
             revert to $46.67 per month. If during the 60 months repayment the current payment
             for the association increases, the payments will be calculated at the new payment
             amount plus $35.72 for the remaining months. Upon payment of the above amounts,
             the creditor shall release any and all liens on the property. The claim is not based
             upon an insider and is impaired.
        b. Mercedes Benz holds a secured claim in the amount of $11,260.42. The Mercedes
             Benz has a value of $11,260.42. Mercedes Benz is secured in the primary vehicle of
             the debtor. The claim of Mercedes Benz shall be valued and treated as secured to the
             value of $11,260.42 and the balance will be unsecured. The Debtor intends to pay
             Mercedes $11,260.42 at 3.75% over 60 months in payments of $206.00 per months.
             Upon payment of the above secured amount, the creditor shall release any and all
             liens on the property. The claim is not based upon an insider and is impaired.

                                                  4



Case 3:15-bk-06099       Doc 138    Filed 09/12/17 Entered 09/12/17 08:59:18             Desc Main
                                   Document     Page 4 of 15
       2. Classes of Court Ordered Claims
       Court Ordered claims are claims that are under prior Court Orders by this Court.

       a. Susquehanna Commercial Finances, Inc. (“Susquehanna”) holds a court ordered
          claim in the amount of $56,163.86, secured in dental equipment. It is the position of
          the Debtor that this claim is actually a financing agreement and not a true lease. As
          such the claim will be treated as secured and paid in accordance with the terms and
          conditions of the debtor’s chapter 11 plan. Further said claim will be paid in
          accordance with the terms and conditions set forth in the agreed order dated January
          14, 2016. The claim will be treated as secured in the amount of $15,000.00, over 60
          months with 3.5% interest, which payments shall be in the amount of $272.88 per month.
          The remaining portion will be treated as unsecured. The terms and conditions set
          forth in the agreed order will be incorporated as set out verbatim in the Chapter 11
          plan. Upon payment of the above secured amount, the creditor shall release any and
          all liens on the property. The claim is not based upon an insider and is impaired.
       b. Patterson Dental Supply, Inc. (“Patterson”) holds a court ordered claim in the amount
          of $75,000.00 pursuant to the terms and conditions set forth in the agreed order
          entered on April 22, 2016. It is the position of the Debtor that this claim is actually a
          financing agreement and not a true lease. As such the claim will be treated as secured
          and paid in accordance with the terms and conditions of the debtor’s chapter 11 plan.
          Further the agreed order entered into by the parties will be incorporated into the
          Chapter 11 plan.     Patterson’s claim will be valued and secured in the amount of
          $75,000.00, over 48 months with 3.5% interest, which payments shall be in the amount
          of $997.47 per month. After the 48 month period, interest shall increase to 5% requiring
          a payment of $1,053.26 for the remaining 36 months commencing thirty (30) days after
          confirmation.   Further during the course of the Debtor’s bankruptcy, the debtor was
          making adequate protection payments to the creditor in the amount of $198.00 per

                                                5



Case 3:15-bk-06099     Doc 138    Filed 09/12/17 Entered 09/12/17 08:59:18              Desc Main
                                 Document     Page 5 of 15
          month. All payments made by the debtor to the creditor prior to confirmation shall be
          applied to principle to reduce the principle balance pursuant to the agreed order.   The
          remaining balance of the claim will be treated as unsecured. Upon payment of the
          above amounts, the creditor shall release any and all liens on the property. The claim
          is not based upon an insider and is impaired.
       c. Blue Bridge Financial, LLC, (“Blue Bridge”) holds a court ordered claim in the
          amount of $34,203.90, secured portion equaling $9,000.00, plus interest at the rate of
          4.5% per annum. Claim is secured in dental equipment. The balance of the claim
          will be treated as unsecured. As such the claim will be treated as secured and paid in
          accordance with the terms and conditions of the Agreed Order entered on August 10,
          2017. The Claim will be treated as secured and valued in the amount of $9,000.00 at
          the rate of 4.5% per annum with the first payment commencing on the 15th of the
          month with the first payment due on the first 15th of the month proceeding the
          effective date of the plan. The payment shall be $167.79. Upon payment of the
          above amounts, the creditor shall release any and all liens on the property. The claim
          is not based upon an insider and is impaired. Treatment will be consisted with the
          agreed order between the parties and entered by the Court and incorporated herein by
          reference.
       d. Fifth Third Bank holds a long term obligation on the debtor’s residence and as a
          result this obligation will treat the secured debt pursuant to 11 U.S.C . §1123(b)(5).
          The residence has a value of $357,000.00. The obligation is in the debtor’s name
          however the property deed in the name of a trust agreement. There are no pre-
          petition arrears at this time. The debtor will continue to make the monthly payments
          under the terms and conditions of the deed of trust and loan documents. This claim is
          not based upon an insider and is not impaired. Treatment will be consisted with the




                                                6



Case 3:15-bk-06099     Doc 138    Filed 09/12/17 Entered 09/12/17 08:59:18              Desc Main
                                 Document     Page 6 of 15
          agreed order between the parties and entered by the Court and incorporated herein by
          reference.
       3. Classes of Guaranteed Claims
       Guaranteed claims are claims guaranteed on property in which Debtor is a Guarantor.

       a. Lease Finance Group, LLC, (“Lease Finance”), holds a guaranteed claim in the
          amount of $306.16, secured in dental equipment. It is the position of the Debtor that
          this claim is actually a financing agreement and not a true lease. As such the claim
          will be treated as secured and paid in accordance with the terms and conditions of the
          Chapter 11 plan. Lease Finance did not file a proof of claim in this matter and will be
          disallowed for any amount not provided herein.      The Debtor intends to pay Lease
          Finance $50.00 as full and final settlement of the obligation 45 days after
          confirmation. Upon payment of the above amounts, the creditor shall release any and
          all liens on the property.    The remaining balance of the claim will be treated as
          unsecured. The claim is not based upon an insider and is impaired.
       b. NCMIC Finances Corporation (“NCMIC”) filed multiply claims in this matter. Claim
          15 was actually a duplicate claim for and claim (#15) was withdrawn by the creditor
          and will be disallowed. It is the position of the Debtor that this claim is actually a
          financing agreement and not a true lease. As such the claim will be treated as
          guaranteed and paid in accordance with the terms and conditions of the debtor’s
          chapter 11 Plan. The claim of $43,210.34 will be valued and secured in the amount
          of $7,500.00 at 3.75% over 60 months in payment of $137.28 per month. The
          remaining balance of the claim will be treated as unsecured. Upon payment of the
          above secured amount, the creditor shall release any and all liens on the property.
          The claim is not based upon an insider and is impaired.
       c. Professional Solutions Financial Service (“Professional Solutions”) filed a secured
          claim in the amount of $37,516.81 secured in computer equipment. It is the position

                                               7



Case 3:15-bk-06099     Doc 138    Filed 09/12/17 Entered 09/12/17 08:59:18            Desc Main
                                 Document     Page 7 of 15
          of the Debtor that this claim is actually a financing agreement and not a true lease.
          As such the claim will be treated as guaranteed and paid in accordance with the terms
          and conditions of the Debtor’s Chapter 11 Plan. The Debtor intends to pay
          Professional Solutions as a guaranteed claim and values the claim at $9,250.00 with
          interest at 3.75% over 60 months beginning on the effective date of the Plan with
          payments of $169.31 per month.           The balance of the claim will be treated as
          unsecured. Upon payment of the above amounts, the creditor shall release any and all
          liens on the property. The claim is not based upon an insider and is impaired.
       d. Stearns Bank (aka Group Financial (“Stearns”) holds a guaranteed claim in the
          amount of $110,889.78, secured in dental equipment. It is the position of the Debtor
          that this claim is actually a financing agreement and not a true lease. As such the
          claim will be treated as guaranteed and paid in accordance with the terms and
          conditions of the debtor’s chapter 11 Plan. The Debtor intends to pay Stearns as a
          guaranteed creditor with its claim valued and secured in the amount of $10,000.00 at
          3.75 % over 60 months with payments of $183.04 per month beginning 30 days after
          the Effective date of the Plan. The balance of the claim will be treated as unsecured.
          Upon payment of the above secured amount, the creditor shall release any and all
          liens on the property. The claim is not based upon an insider and is impaired.
       e. Time Payment Corp (“Time Payment”) holds a guaranteed claim in the amount of
          $28,310.00, secured in dental equipment. It is the position of the Debtor that this
          claim is actually a financing agreement and not a true lease. As such the claim will
          be treated as guaranteed and paid in accordance with the terms and conditions of the
          debtor’s chapter 11 Plan. The Debtor values and intends to pay Time Payment
          secured to the amount of $3,500.00 with interest at 3.75% at the rate of $64.06 over
          60 months with the first payment due 30 days from the effective date of the Plan. The
          remaining portion of the claim to be treated as unsecured.      Upon payment of the


                                               8



Case 3:15-bk-06099    Doc 138    Filed 09/12/17 Entered 09/12/17 08:59:18             Desc Main
                                Document     Page 8 of 15
            above secured amount, the creditor shall release any and all liens on the property.
            The claim is not based upon an insider and is impaired.
        f. M2 Lease Funds (“M2”) holds a secured claim in the amount of $62,187.23. M2 is
            secured in dental equipment. It is the position of the Debtor that this claim is actually
            a financing agreement and not a true lease. As such the claim will be treated as
            secured and paid in accordance with the terms and conditions of the debtor’s chapter
            11 Plan. The Debtor values and intends to pay the claim of M2 as secured to the
            value of $3,500.00 with interest at the rate of 3.75% over 60 months with payment of
            $64.06 per month. The remaining balance of the claim will be disallowed as no claim
            was filed. Upon payment of the above secured amount, the creditor shall release any
            and all liens on the property. The claim is not based upon an insider and is impaired.


 2.     Classes of Priority Unsecured Claims

        Certain priority claims that are referred to in Code Sections 507(a)(3), (4), (5), (6), and
 (7) are required to be placed in classes. These types of claims are entitled to priority treatment as
 follows: the Code requires that each holder of such a claim receive cash on the Effective Date
 equal to the allowed amount of such claim. However, a class of unsecured priority claim holders
 may vote to accept deferred cash payments of a value, as of the Effective Date, equal to the
 allowed amount of such claims.
        There are no priority unsecured claims under the Plan.


 3.     Class of General Unsecured Claims
        General unsecured claims are unsecured claims not entitled to priority under Code
 Section 507(a). The following the Plan’s treatment of the class containing all of Debtor’s
 general unsecured claims (see Exhibit D for detailed information about each general unsecured
 claim of the disclosure statement) along with any unsecured portions identified above :


                                                  9



Case 3:15-bk-06099       Doc 138     Filed 09/12/17 Entered 09/12/17 08:59:18              Desc Main
                                    Document     Page 9 of 15
 CLASS              DESCRIPTION               IMPAIRE                   TREATMENT
   #                                             D


                                                 (Y/N)
              General unsecured                Y, Claims •     Pymt interval            = Monthly
                                              in this class
     4                                        are entitled •   Pymt amt/interval        = $750.00
              claims                           to vote on
                                                the plan. •    Begin date               = 15th day of
                                                                                        the month
                                                                                        after
              • Total amt of claims =                                                   effective date
                      $184,717.61 plus
                      any unsecured
                      portion of claims
                      filed above but
                      treated as unsecured.
                                                                                        = 60 mos.
                                                          •    End date                 from
                                                                                        effective date
                                                                                        = 0.00%
                                                          •    Interest rate
                                                                                        = $45,000.00
                                                          •    Total payout


         Monthly payments shall be made on a pro rata basis based on the value of each unsecured

 claim. Any plan payments returned to the Debtor by unsecured creditors shall become property

 of the reorganized Debtors. Effective date for payment of unsecured creditors is month 61 after

 the date of confirmation of the plan.

         4.       Class(es) of Interest Holders
         Interest holders are the parties who hold ownership interest (i.e., equity interest) in the
 Debtor. If the Debtor is a corporation, entities holding preferred or common stock in the Debtor
 are interest holders. If the Debtor is a partnership, the interest holders include both general and
 limited partners. If the Debtor is an individual, the Debtor is the interest holder.
         The Debtor is an individual in this case.


                                                     10



Case 3:15-bk-06099         Doc 138 Filed 09/12/17 Entered 09/12/17 08:59:18                  Desc Main
                                  Document    Page 10 of 15
 D.     Means of Performing the Plan
        1.      Funding for the Plan
                The Plan will be funded by the following: Income from Debtor’s income through
 APEO, LLC and the operation of her own dental business.
        2.      Post-confirmation Management
        The Debtor shall be responsible for post-confirmation management.
        3.      Disbursing Agent
        Debtor shall act as the disbursing agent for the purpose of making all distributions
 provided for under the Plan. The Disbursing Agent shall serve without bond and shall receive no
 compensation for distribution services rendered and expenses incurred pursuant to the Plan.

                                                 III.

                        TREATMENT OF MISCELLANEOUS ITEMS

 A.     Executory Contracts and Unexpired Leases
        a.      Assumptions
        There are no unexpired leases or executory contracts to be assumed as obligations of the
 reorganized Debtor under this Plan.
        b.      Rejections
        On the Effective Date, the following executory contracts and unexpired leases will be
 rejected:
        All executory contracts and leases not explicitly assumed above or treated above.

        The order confirming the Plan shall constitute an Order approving the rejection of the
 lease or contract. If you are a party to a contract or lease to be rejected and you object to the
 rejection of your contract or lease, you must file and serve your objection to the Plan within the
 deadline for objecting to the confirmation of the Plan.




                                                 11



Case 3:15-bk-06099       Doc 138 Filed 09/12/17 Entered 09/12/17 08:59:18               Desc Main
                                Document    Page 11 of 15
         THE BAR DATE FOR FILING A PROOF OF CLAIM BASED ON A CLAIM
 ARISING FROM THE REJECTION OF A LEASE OR CONTRACT IS SHALL BE 45 DAYS
 AFTER CONFIRMATION.              Any claim based on the rejection of a contract or lease will be
 barred if the proof of claim is not filed. Any claim based on the rejection of a contract or lease
 will be barred if the proof of claim is not timely filed, unless the Court later orders otherwise.
 B.      Changes in Rates Subject to Regulatory Commission Approval

         This Debtor is not subject to governmental regulatory commission approval of its rates.

 C.      Retention of Jurisdiction.

         The Court will retain jurisdiction to the extent provided by law.

 D.      Binding effect upon creditors as it relates to the debtor’s company.           As a result of

         confirmation of this plan, any creditor that is joint creditor of the debtor and the

         debtor’s company as it relates to an obligation the debtor guaranteed for the company,

         the creditor will be bound by the treatment of the claim in this case and upon payment

         of the claim discharges the obligation of debt to company as well.

                                                  IV.

                           EFFECT OF CONFIRMATION OF PLAN


      A. Discharge

         Pursuant to 11 U.S.C. §1141(d)(5), in a case in which the Debtors are individuals,

 Confirmation of the Plan does not discharge any debt provided for in the Plan until the Court

 grants a discharge on completion of all payments under the Plan. However, §1141(d)(5)(B)

 provides that at any time after the Confirmation of the Plan, and after notice and a hearing, the

 Court may grant a discharge to the Debtors before completing all payments under the Plan if (1)

 the value, as of the Effective Date of the Plan, of property actually distributed under the Plan on

 account of each Allowed Unsecured Claim is not less than the amount that would have been paid

                                                   12



Case 3:15-bk-06099        Doc 138 Filed 09/12/17 Entered 09/12/17 08:59:18                  Desc Main
                                 Document    Page 12 of 15
 on such Claim if the estate of the Debtors had been liquidated under Chapter 7 on such date, and

 (2) modification of the Plan under Section 1127 is not practicable. To determine the amount that

 would have been paid if the estate of the Debtors had been liquidated under Chapter 7 on the

 Effective Date of the Plan, please refer to the liquidation analysis contained in the Disclosure

 Statement.

 B.     Re-vesting of Property in the Debtor
        Except as provided in Section {V.E.}, and except as provided elsewhere in the Plan, the
 confirmation of the Plan re-vests all of the property of the estate in the Debtor.
 C.     Modification of Plan

        The Proponent of the Plan may modify the Plan at any time before confirmation.

 However, the Court may require a new disclosure statement and/or re-voting on the Plan. The

 Proponent of the Plan may also seek to modify the Plan at any time after confirmation only if (1)

 the Plan has not been substantially consummated and (2) the Court authorizes the proposed

 modifications after notice and a hearing.

 D.     Post-Confirmation Status Report
        Within 120 days of the entry of the order confirming the Plan, Plan Proponent shall file a
 status report with the Court explaining what progress has been made toward consummation of
 the confirmed Plan. The status report shall be served on the United States Trustee, the twenty
 largest unsecured creditors, and those parties who have requested special notice. Further status
 reports shall be filed every 120 days and served on the same entities.
 E.     Quarterly Fees
        Quarterly fees accruing under 28 U.S.C. § 1930(a)(6) to date of confirmation shall be
 paid to the United States Trustee on or before the effective date of the plan. Quarterly fees
 accruing under 28 U.S.C. § 1930(a)(6) after confirmation shall be paid to the United States



                                                  13



Case 3:15-bk-06099        Doc 138 Filed 09/12/17 Entered 09/12/17 08:59:18             Desc Main
                                 Document    Page 13 of 15
 Trustee in accordance with 28 U.S.C. § 1930(a)(6) until entry of a final decree, or entry of an
 order of dismissal or conversion to chapter 7.
 F.     Post-Confirmation Conversion/Dismissal
        A creditor or party in interest may bring a motion to convert or dismiss the case under §
 1112(b), after the Plan is confirmed, if there is a default in performing the Plan. If the Court
 orders, the case converted to Chapter 7 after the Plan is confirmed, then all property that had
 been property of the Chapter 11 estate, and that has not been disbursed pursuant to the Plan, will
 re-vest in the Chapter 7, estate. The automatic stay will be re-imposed upon the re-vested
 property, but only to the extent that relief from stay was not previously authorized by the Court
 during this case.


        The order confirming the Plan may also be revoked under very limited circumstances.
 The Court may revoke the order if the order of confirmation was procured by fraud and if the
 party in interest brings an adversary proceeding to revoke confirmation within 180 days after the
 entry of the order of confirmation.
 G.     Final Decree
        Once the estate has been fully administered as referred to in Bankruptcy Rule 3022, the
 Plan Proponent, or other party as the Court shall designate in the Plan Confirmation Order, shall

 file a motion with the Court to obtain a final decree to close the case. A motion to administrative

 close the case may be filed by the Debtor after commencement of payment to class C1, C2 and

 C3 of the plan.



                                                       Respectfully submitted,

                                                       /s/ Mike J. Urquhart, No. 021075
                                                       MIKE J. URQUHART
                                                       Counsel to the Debtor
                                                       20 Academy Place
                                                       Nashville, TN 37210
                                                  14



Case 3:15-bk-06099       Doc 138 Filed 09/12/17 Entered 09/12/17 08:59:18                 Desc Main
                                Document    Page 14 of 15
                                            Phone: (615) 251-6968
                                            Fax: (615) 251-6975
                                            Email: mikejurquhart@hotmail.com




                                       15



Case 3:15-bk-06099   Doc 138 Filed 09/12/17 Entered 09/12/17 08:59:18     Desc Main
                            Document    Page 15 of 15
